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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                              NORTHERN DISTRICT OF CALIFORNIA

                                   6                                         SAN JOSE DIVISION

                                   7
                                         STEPHEN EDWARD HAJEK,
                                   8                                                        Case No. 20-2568 BLF
                                                        Petitioner,
                                   9                                                        ORDER GRANTING EXTENSION
                                                 v.                                         REQUEST
                                  10
                                         RON BROOMFIELD, Acting Warden,
                                  11     California State Prison at San Quentin,
                                  12                    Respondent.
Northern District of California
 United States District Court




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                                  15          Good cause appearing, it is hereby ordered that petitioner’s unopposed motion for a 15-day
                                  16   extension of time, through and including November 15, 2021, for the parties to confer and file a
                                  17   joint statement regarding exhaustion is GRANTED.
                                  18          IT IS SO ORDERED.
                                  19   Dated: October 18, 2021
                                  20                                                  ______________________________________
                                                                                      BETH L. FREEMAN
                                  21                                                  United States District Judge
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                                  28   Case No.: 20-2568
                                       << ORDER TYPE >>
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